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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


TIKTOK INC., et al.,

                         Plaintiffs,

          v.                                           Case No. 20-cv-02658 (CJN)

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                         Defendants.



                                       [PROPOSED] ORDER

          Upon consideration of Plaintiffs’ Motion for a Preliminary Injunction, the Court hereby

          ORDERS that Plaintiff’s Motion for Preliminary Injunction is GRANTED; and it is
further

        ORDERED that Defendants Donald J. Trump, Wilbur L. Ross, Jr., and the U.S.
Department of Commerce are ENJOINED from applying, enforcing, or issuing any guidance
relating to the August 6 order and to the Prohibitions in their entirety during the pendency of this
action until further order of the Court.

SO ORDERED.




  Dated:

                                                      HON. CARL J. NICHOLS
                                                      United States District Judge
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  NAMES OF PERSONS TO BE SERVED WITH PROPOSED ORDER UPON ENTRY

       In accordance with Local Rule 7(k), listed below are the names and addresses of the
attorneys and parties to be notified of the proposed Order’s entry:

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Washington, D.C. 20230

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